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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                   FORT WORTH DIVISION

ROBERT (BOB) ROSS,                              §
                                                §
     Plaintiff/Counterclaim Defendant,          §
                                                §
v.                                              §       Civil Action No. 4:22-cv-00034-Y
                                                §
ASSOCIATION OF PROFESSIONAL                     §
FLIGHT ATTENDANTS                               §
MCGAUGHEY, REBER AND                            §
ASSOCIATES, INC, JULIE                          §
HEDRICK, AND ERIK HARRIS,                       §
                                                §
     Defendants/Counterclaim Plaintiff.         §



                  PLAINTIFF’S DISCLOSURES PURSUANT TO F.R.C.P. 26 (a)

            Pursuant to this Court’s Order of June 13, 2022 (Dkt. No. 13), counsel for

 Plaintiff/Counterclaim Defendant Robert (Bob) Ross submits these disclosures required by

 Federal Rule of Civil Procedure 26(a)(1) as follows:


      (i)     the name and, if known, the address and telephone number of each individual
              likely to have discoverable information—along with the subjects of that
              information—that the disclosing party may use to support its claims or defenses,
              unless the use would be solely for impeachment;


              1. Any and all former and current members of the Board of Directors of the Association
                  of Professional Flight Attendants and its affiliates from January 1, 2015 to current
                  whose current national headquarters location includes but is not limited to 1004 West
                  Euless Boulevard, Euless, Texas 76040. (817) 540-0208. Information and testimony
                  regarding claims for violations of Breach of Fiduciary Duty, Breach of Union
                  Constitution, Violation of Member’s Bill of Rights under Labor Management
                  Reporting and Disclosure Act.



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     2. Any and all former and current national officers of the Association of Professional
        Flight Attendants and its affiliates from January 1, 2015 to current whose current
        national headquarters location includes but is not limited to 1004 West Euless
        Boulevard, Euless, Texas 76040. (817) 540-0208.          Information and testimony
        regarding claims for violations of Breach of Fiduciary Duty, Breach of Union
        Constitution, Violation of Member’s Bill of Rights under Labor Management
        Reporting and Disclosure Act.

     3. Any and all staff current and former members of the Association of Professional
        Flight Attendants and its affiliates from January 1, 2015 to current whose current
        national headquarters location includes but is not limited to 1004 West Euless
        Boulevard, Euless, Texas 76040. (817) 540-0208.             Information, testimony,
        correspondence, and documentation regarding claims for violations of Breach of
        Fiduciary Duty, Breach of Union Constitution, Violation of Member’s Bill of Rights
        under Labor Management Reporting and Disclosure Act.

     4. Any and all current and former members of the executive committee of the
        Association of Professional Flight Attendants and its affiliates from January 1, 2015
        to current whose current national headquarters location includes but is not limited to
        1004 West Euless Boulevard, Euless, Texas 76040. (817) 540-0208. Information and
        testimony regarding claims for violations of Breach of Fiduciary Duty, Breach of
        Union Constitution, Violation of Member’s Bill of Rights under Labor Management
        Reporting and Disclosure Act.

     5. Any and all current and former members of the in-house and outside legal team of
        the Association of Professional Flight Attendants and its affiliates from January 1,
        2015 to current whose current national headquarters location includes but is not
        limited to 1004 West Euless Boulevard, Euless, Texas 76040. (817) 540-0208.
        Information and testimony regarding claims for violations of Breach of Fiduciary
        Duty and Violation of Member’s Bill of Rights under Labor Management Reporting
        and Disclosure Act.



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     6. Any and all current and former officers, employees, staff members, debt collection
        agents, contractors, associates Diversified Credit Systems a/k/a McGaughey, Reber
        and Associates, Inc whose address includes but is not limited to 706 Glencrest Ln
        Unit A, Tyler, TX 75701 (903) 297-0600. Information and testimony including but
        limited to claims for violations of Fair Debt Collection Practices Act and Federal Fair
        Credit Reporting Act.

     7. Any and all certified public accountants, accountants, partners, associates, staff
        members and affiliates of Wood, Stephens & O’Neil, L.L.P., its predecessors,
        affiliates and assigns whose current address includes but is not limited to 6300
        Ridglea Place, Suite 318, Fort Worth, Texas 76116. (817) 377-1700. Information and
        testimony regarding claims for violations of Breach of Fiduciary Duty, Breach of
        Union Constitution, Violation of Member’s Bill of Rights under Labor Management
        Reporting and Disclosure Act.

     8. Any and all staff current and former employees of the Association of Professional
        Flight Attendants and its affiliates from January 1, 2015 to current whose current
        national headquarters location includes but is not limited to 1004 West Euless
        Boulevard, Euless, Texas 76040. (817) 540-0208.              Information, testimony,
        correspondence, and documentation regarding claims for violations of Breach of
        Fiduciary Duty, Breach of Union Constitution, Violation of Member’s Bill of Rights
        under Labor Management Reporting and Disclosure Act.

     9. Any and all staff current and former employees of the American Airlines, Inc. and its
        affiliates from January 1, 2015 to current whose current national headquarters
        location includes but is not limited to 4333 Amon Carter Blvd, Fort Worth, Texas
        76155, (817) 963-1234. Information, testimony, correspondence, and documentation
        regarding claims for violations of Breach of Fiduciary Duty, Breach of Union
        Constitution, Violation of Member’s Bill of Rights under Labor Management
        Reporting and Disclosure Act.

     10. Bob Ross, c/o KD Phillips Law, 5700 Tennyson Parkway, Suite 300, Plano Texas
        75024; Topic: Union Practices, Fact Witness
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        11. Eugenio Vargas, c/o KD Phillips Law, 5700 Tennyson Parkway, Suite 300, Plano
             Texas 75024; Topic: Union Practices, Fact Witness

        12. Nena Martin: 1404 Grizzly Hollow, Wentzville, MO 63385; Topic: Union Practices,
             Fact Witness

        13. Ruben R. Armendariz, Arbitrator, 8610 Cheviot Heights, San Antonio, Texas 78254
             (210) 370860; Topic: Union Practices, Fact Witness

        14. Dr. Kamalpreet Dulai, McClellan Park Air Force Base, Veterans Administration; 150
             Muir Road, Martinez, CA 94553 (925) 372-2000; Topic: Damages

         15. Gene Ackerman, Answer Home Loans – 916-835-8684; 6085 Douglas Blvd, Suite
             500, Granite Bay, CA 95746 Topic: Damages.

(ii)    a copy—or a description by category and location—of all documents,
        electronically stored information, and tangible things that the disclosing party has
        in its possession, custody, or control and may use to support its claims or defenses,
        unless the use would be solely for impeachment;
        1.   Copy of Arbitration Decision
        2.   Transcripts from Arbitration Hearing
        3.   Email correspondence between the parties regarding the arbitration
        4.   Copy of Transition Agreement
        5.   Correspondence from APFA to Plaintiff regarding wages
        6.   Social Media Posts
        7.   Agreement between APFA and Laura Glading
        8.   APFA Constitution and Policies
        9.   Affidavits from witnesses

(iii)   a computation of each category of damages claimed by the disclosing party—who
        must also make available for inspection and copying as under Rule 34 the
        documents or other evidentiary material, unless privileged or protected from
        disclosure, on which each computation is based, including materials bearing on the
        nature and extent of injuries suffered; and

        (1) Legal Fees to Date: est. $61,345.90
        (2) Arbitration and Costs Assessed in Arbitration Fees: est. $27,631.60 + Additional
            Costs
        (3) Lost Income: est. $23,420.60
        (4) Costs incurred in Arbitration: est. $8,610.72
        (5) Damages for FCRA violations: est. $691,637
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            (6) Medical Costs: unknown
            (7) Reputational Harm: unknown
            (8) Pain and Emotion Suffering: unknown
            (9) Lost Employment Opportunities: unknown
            (10) Loss Future Income: unknown
            (11) Punitive Damages: unknown

    (iv)    for inspection and copying as under Rule 34, any insurance agreement under
            which an insurance business may be liable to satisfy all or part of a possible
            judgment in the action or to indemnify or reimburse for payments made to satisfy
            the judgment.

            (1) Robert (Bob was insured per Federal Law mandates; however, all policy documents
                were left in possession of the Association of Professional Flight Attendants upon his
                departure in 2018, and no copies were retained, per Union Policy. He has not been
                provided this information to date, therefore is unable to provide the Defendants with
                this information.

 Date: August 3, 2022                              Respectfully Submitted
                                                     /s/ Kerri Phillips
                                                   KERRI PHILLIPS
                                                   Texas Bar No. 24065906
                                                   HEATHER ABREU
                                                   Texas Bar No. 24122577
                                                   K.D. Phillips Law Firm, PLLC
                                                   5700 Tennyson Parkway, Suite 300
                                                   Plano, Texas 75024
                                                   Phone: (972) 327-5800
                                                   Fax: (940) 400-0089
                                                   Email: Kerri@KDphillipslaw.com
                                                   Email: Heather@KDphillipslaw.com

                                                   Counsel for Plaintiff Robert “Bob” Ross



                                       CERTIFICATE OF SERVICE

I certify that on this 4th day of August 2022, I served a true and correct copy of the foregoing to the below
persons through electronic filing and email.

SANFORD R. DENISON               denison@baabdenison.com
MARGOT A. NIKITAS                MNikitas@apfa.org
WILLIAM W. OSBORNE                b.osborne@osbornelaw.com


                                             /s/ Kerri Phillips
                                                 Kerri Phillips

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